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      7
      8                          UNITED STATES DISTRICT COURT
      9                        CENTRAL DISTRICT OF CALIFORNIA
     10
     11    CARLOS VILA,                                      Case No. 2:21-cv-05837-ODW-MRW
     12
                          Plaintiff,                         REPLY MEMORANDUM OF
     13                                                      POINTS AND AUTHORITIES IN
     14           vs.                                        SUPPORT OF PLAINTIFF’S
                                                             MOTION FOR JUDGMENT ON
     15    DEADLY DOLL, INC.,                                THE PLEADINGS PURSUANT
     16                                                      TO FRCP 12(C)
                          Defendant.
     17    -----------------------------------------------   Judge: Hon. Otis D. Wright, II
     18
           DEADLY DOLL, INC.,                                Action Filed:        July 20, 2021
     19                                                      Discovery Cutoff:    Sept. 19, 2022
     20                   Counterclaim Plaintiff,            Pretrial Conf. Dt:   Dec. 28, 2022
                                                             Trial Date:          January 17, 2023
     21           vs.
     22                                                      Hearing:   April 11, 2022
           CARLOS VILA,                                      Time:      1:30 p.m.
     23                                                      Courtroom: 350 West 1st Street
     24                   Counterclaim Defendant.                       Los Angeles, CA. 90012
                                                                        Courtroom 5D
     25
     26
     27
     28   Case: 2:21-cv-05837-ODW-MRW           i
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      1             A. Introduction
      2         Defendant’s opposition is wholly unavailing and fails to show why Plaintiff
      3   is not entitled to judgment on the pleadings with respect to Defendant’s
      4   counterclaims. By way of just one example of this conduct, the case law on which
      5   Defendant relies to support its contention that Plaintiff’s Photograph is purportedly
      6   a derivative work is either readily distinguishable, out-of-Circuit, or both.1
      7          Further to this point, nowhere in Defendant’s papers does it address the
      8   fundamental question of how the proffered interpretation of copyright law vis-à-
      9   vis derivative works would not lead to the total demise of photography as a
     10   centuries-old and well recognized art form. Indeed, as was set forth at length in
     11   Plaintiff’s moving brief, both scholars and Courts within and without this Circuit
     12   have recognized that nearly any photograph is necessarily “derived from” the
     13   images it captures, but that does not equate to a finding that a photograph is a
     14   derivative work. To accept Defendant’s argument would be contrary to well-settled
     15   precedent and would necessarily result in a determination that all photographs must
     16   always be found to be derivative works. As has been argued, this would lead to an
     17   absurd result, which is starkly contrary to all existing precedent.
     18         More importantly, it is relevant to note that Defendant has failed to oppose
     19   the portion of Plaintiff’s motion which seeks judgment on the pleadings as to
     20   Defendant’s first claim for relief, which seeks a declaration holding that Plaintiff’s
     21   Photograph does not qualify for copyright protection and that Plaintiff’s
     22   registration thereof should be canceled. Because this prayer for relief is unopposed,
     23
          1
                Parenthetically, this may be why Defendant dedicates nearly half of the
     24
          introductory page of its Opposition to a single-spaced footnote identifying “about
     25   20 other cases” which Plaintiff has filed against other infringers over “the last
          several years,” which cases were settled. Defendant fails to state the manner in
     26
          which it believes the claims in those actions have any bearing on the case-at-bar,
     27   and only serve to illustrate the lengths to which Defendant will go to distract the
          Court from the arguments before it.
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      1   the Court should find that Defendant has waived any argument in opposition and
      2   that Plaintiff is entitled to judgment on Defendant’s first counterclaim as a matter
      3   of law.
      4             B. Defendant is not Entitled to a Declaratory Judgment
      5         Defendant failed to oppose the portion of Plaintiff’s argument which asserts
      6   that Defendant is not entitled to a Declaratory Judgment on its first counterclaim,
      7   which seeks a declaration, inter alia, that: (a) the Photograph is an unauthorized
      8   derivative work; (b) the Photograph does not qualify for copyright protection; (c)
      9   Defendant is not liable to Plaintiff for copyright infringement; and (d) Plaintiff is
     10   liable to Defendant for copyright infringement.
     11         Defendant’s failure to oppose this prong of Plaintiff’s motion should be
     12   found to be fatal and result in a determination that Defendant has waived its rights
     13   to oppose same and finding that Plaintiff is entitled to judgment on the pleadings
     14   as to Defendant’s declaratory judgment claim. See, e.g., Glee v. Austian, No.
     15   CIVS061658LKKGGHP, 2008 WL 283843 (E.D. Cal. Feb. 1, 2008), report and
     16   recommendation adopted, No. S-06-1658LKKGGHP, 2008 WL 1834721 (E.D.
     17   Cal. Apr. 23, 2008) (“Failure of the responding party to file written opposition or
     18   to file a statement of no opposition may be deemed a waiver of any opposition to
     19   the granting of the motion ....”).
     20             C. The Photograph is not a Derivative Work
     21         In the event that the Court does not find Defendant’s failure, refusal or
     22   inability to respond to the portion of Plaintiff’s motion which seeks a determination
     23   that Defendant is not entitled to a declaratory judgment as a matter of law to be
     24   dispositive, it should nonetheless find the remainder of Defendant’s arguments to
     25   be unavailing. More specifically, the Court should find that Plaintiff’s Photograph
     26   is not a “derivative work” as a matter of law and that the Photograph does not
     27   infringe any copyright Defendant asserts to hold.
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      1         As was set forth in Plaintiff’s moving brief, Defendant erroneously submits
      2   that Plaintiff’s photograph is a derivative work, yet Defendant’s opposition fails to
      3   put forth any fact or binding authority to substantiate its faulty premise. Indeed,
      4   the case law cited by Defendant clearly supports Plaintiff’s position, rather than
      5   that of Defendant.
      6         First, Defendant cites to Gaylord v. U.S., 777 F.3d 1363 (Fed. Cir. 2015) in
      7   support of its contention that Plaintiff’s Photograph is an unauthorized derivative
      8   work. Defendant’s reliance on Gaylord is misplaced for a variety of reasons, not
      9   the least of which is that “a federal court of appeal's decision is only binding within
     10   its circuit.” United States v. AMC Ent., Inc., 549 F.3d 760, 772 (9th Cir. 2008).
     11         Even if the decision in Gaylord were binding—it is not—Gaylord remains
     12   readily distinguishable. More specifically, in Gaylord the plaintiff (a World War
     13   II veteran) was commissioned to create a sculpture to form a central part of the
     14   Korean War Veterans Memorial located on the National Mall in Washington, D.C.
     15   Gaylord did create such a sculpture, consisting of nineteen (19) stainless steel
     16   statues depicting a squad of soldiers on patrol in the Korean War. The sculpture(s)
     17   became known as “The Column.” An amateur photographer later took a picture of
     18   The Column, which the United States Postal Service (the “USPS”) then sought to
     19   use on a postage stamp, which it did. Once in use, Gaylord filed the aforementioned
     20   lawsuit alleging that the USPS infringed upon his copyright when it issued postage
     21   stamp depicting The Column. The Court had no trouble finding the postage stamp
     22   to be a derivative work, to the extent that the image was nothing more than a
     23   photograph of Gaylord’s original sculpture. Nothing was added and nothing
     24   removed. That is in stark contrast to the facts of the case-at-bar, wherein the focal
     25   point of Plaintiff’s Photograph is Irina Shayk, and the fact that Ms. Shayk is alleged
     26   to be wearing an item of clothing marketed and sold by Defendant is of no import
     27   to the overall Photograph.
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      1         Defendant next relies on a decision from the Southern District of New York
      2   in United Feature Syndicate, Inc. v. Koons, 817 F. Supp. 370, 382 (S.D.N.Y. 1993)
      3   (“Koons”), which suffers deficiencies in addition to those noted above with respect
      4   to Gaylord.     More specifically, Defendant cites Koons for the premise that
      5   “[i]ncluding some or all of a separate copyrighted work in or as an element of a
      6   subsequent work can make the subsequent work a derivative of the underlying work
      7   under that definition.” Dkt. No. 32 at p. 5. Setting aside that Defendant’s argument
      8   is overly generic, the facts in Koons are readily distinguishable. Specifically, in
      9   Koons, the artist expressly stated that his sculpture was intended to depict the
     10   canine character of “Odie” from the Garfield® comic strip, and that the “Odie”
     11   character was featured prominently in the sculpture (which, interestingly, Koons
     12   himself did not create—it was commissioned to a sculptor with specific
     13   instruction).
     14         Here, in contrast to Koons, Plaintiff did not direct Ms. Shayk to wear any
     15   item of clothing featuring the “Pin Up Girl” image in which Defendant claims to
     16   have a copyright at the time Ms. Shayk was photographed. Plaintiff did not
     17   specifically wait to photograph Ms. Shayk until such time that she was wearing an
     18   item of clothing featuring the “Pin Up Girl” image in which Defendant claims to
     19   have a copyright. Moreover, the items of clothing which Ms. Shayk was wearing
     20   are immaterial and de minimis in relation to the Photograph as a whole. In sum,
     21   the facts in Koons are readily distinguishable from those in the case-at-bar.
     22         Defendant also relies on the decision in Tiffany Design, Inc. v. Reno-Tahoe
     23   Specialty, Inc., 55 F. Supp. 2d 1113 (D. Nev. 1999), which again fails to be relevant
     24   in that, just like the above cases, this case discusses infringements and derivative
     25   works where the intent of the infringer was to copy the copyrighted work(s). This
     26   pattern of factual irrelevance is found in every case upon which Defendant relies,
     27   in that every case cited deals with a situation in which the infringer’s announced
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      1   and/or actual intent was to create a copy of the copyrighted work.              While
      2   Defendant’s attempt to create a question of fact is creative, it is unavailing, insofar
      3   as it cannot be disputed that Plaintiff’s intent was to photograph Ms. Shayk, without
      4   regard to any item of clothing she may have happened to be wearing. Further to
      5   this point, unlike all of the “authority” cited by Defendant, it is beyond cavil that
      6   Plaintiff herein did not utilize his camera in his effort to duplicate the Defendant’s
      7   underlying work; nor did Plaintiff even feature the Defendant’s work in the
      8   composition. As such, it can.
      9         Since none of the above cases are binding precedent and absolutely none
     10   bear situational resemblance to the instant matter, they should be wholly ignored.
     11   What is left thereafter is the unavoidable conclusion that Defendant has
     12   categorically failed to provide precedent, binding or otherwise, that would suggest,
     13   much less label, Plaintiff’s photograph a derivative work.
     14         Defendant’s attempt to argue that the decision in Ets-Hokin v. Skyy Spirits,
     15   Inc., 225 F.3d 1068 (9th Cir. 2000) supports its position is equally misplaced.
     16   Defendant cites Ets-Hokin for the premise that the photograph of a vodka bottle at
     17   issue in that case could not be considered a derivative work because the bottle itself
     18   was a utilitarian object which, itself, was not copyrightable. Upon this fact,
     19   Defendant argues that the Court should find in favor of it under Ets-Hokin on the
     20   grounds that its “Pin Up Doll” image is subject to copyright and, therefore,
     21   Plaintiff’s Photograph should be considered a derivative work.
     22         Defendant’s argument is unavailing, insofar as the underlying facts of this
     23   case are readily distinguishable from those in Ets-Hokin. More specifically, the
     24   photograph in Ets-Hokin was only of Skyy’s vodka bottle. Therefore, if the vodka
     25   bottle could have been copyright eligible itself, the Court may have decided the
     26   matter otherwise; to the extent that it did not also consider the fact that Skyy
     27   specifically commissioned Ets-Hokin to photograph its product and/or bottle.
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      1   Here, in contrast to Ets-Hokin, the focal point of the Photograph is Ms. Shayk. It is
      2   not Defendant’s pants. It is not the jacket, hat, sunglasses or shoes Ms. Shayk is
      3   also wearing. Nor is it intended to depict the phone or other accessories Ms. Shayk
      4   is carrying.
      5         This serves to illustrate the frivolity of Defendant’s argument, if not the
      6   complexity of trying to enforce and police its position. According to Defendant,
      7   Plaintiff would have needed to identify his photograph of Ms. Shayk as being a
      8   derivative work of the seller of Ms. Shayk’s shoes, coat, hat, sunglasses, phone and
      9   accessories—in addition to Defendant’s pants—and would have needed to obtain
     10   licenses from each and all of such entities before he could register or license the
     11   Photograph which he singularly authored. As was stated more fully in Plaintiff’s
     12   moving brief, to accept Defendant’s argument would all but put an end to the art of
     13   photography.
     14         Based on the above it is clear that neither law nor common sense would
     15   entertain such a risible position that would instantaneously make every person who
     16   has ever taken a photograph with their camera or cell phone an infringer in the eyes
     17   of the law.
     18             D. Defendant's Copyright Registration is Invalid
     19         In the next prong of its Opposition, Defendant argues that its copyright
     20   registration should not be invalidated or its counterclaim dismissed for a
     21   “typographical error.” Dkt. No. 32 at Point IV. Defendant advances this argument
     22   despite its admission that it did not seek to register the “Pin Up girl” image until
     23   after this action was filed and, even then, for the sole purpose of interposing the
     24   instant counterclaim. Defendant further admits that the dates of creation and first
     25   publication as set forth in its counterclaim are different than that set forth in the
     26   registration, but, has failed to offer the Court any plausible explanation as to why
     27   the purported error occurred.
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      1         Despite numerous requests for clarification and attempts to discuss the issue
      2   of contradicting dates, Defendant has never once admitted nor explained which
      3   dates on which document were in error. Moreover, Defendant never once informed
      4   Plaintiff of the existence of Defendant’s request to amend the registration. Any
      5   claims of frivolity on the part of the Plaintiff would thus appear to be an artifice by
      6   Defendant to save its admittedly defective registration.
      7         Not only does Defendant’s unsupported factual missive fall short, its legal
      8   argument is equally unavailing. More specifically, Defendant posits that “the
      9   inaccurate information was included on the application...with knowledge that it was
     10   inaccurate...”. Dkt. No. 32 at p. 9 (citing Gold Value Int'l Textile, Inc. v. Sanctuary
     11   Clothing, LLC, 925 F.3d 1140, 1146 (9th Cir. 2019)).                Not surprisingly,
     12   Defendant’s quoting of the statute is also inaccurate. Section 411 of the Copyright
     13   Act states that “(A) the inaccurate information was included on the application for
     14   copyright registration with knowledge that it was inaccurate; and (B) the
     15   inaccuracy of the information, if known, would have caused the Register of
     16   Copyrights to refuse registration”. 17 U.S.C. §411. A proper reading of the statute
     17   would find that Defendant’s registration fails both prongs.
     18         Firstly, Defendant clearly knew that the information on the registration was
     19   incorrect, as it affirmatively stated that it did not seek to register its purported
     20   copyright until after it had been served with this action and for the express purpose
     21   of drafting the counterclaim. Despite setting forth this timeline, Defendant offers
     22   no substantive explanation as to why the dates in the application for registration
     23   differ from those set forth in the counterclaim and/or which was correct. Secondly,
     24   it is respectfully submitted that had the Register of Copyrights known that the
     25   application contained dates that were inaccurate by a factor of years, it would have
     26   certainly refused registration based upon the proffer of inaccurate information.
     27
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      1         Once again, Defendant’s discussion of the case law on this point is out of
      2   context. More specifically, Defendant cites to Unicolors, Inc v. H&M Hennes &
      3   Mauritz, 142 S.Ct. 941 (2022) for the premise that the Supreme Court has
      4   purportedly held that “even intentional factual misstatements in an application do
      5   not invalidate the resulting registration unless the applicant knew that it would do
      6   so when it filed the application.”
      7         Defendant’s argument is misplaced, to the extent that the Supreme Court
      8   unequivocally stated that a mistake of fact or law would not entitle a copyright
      9   applicant to the safe harbor provision in section 411, if and only if the party
     10   applying for registration did not have knowledge that it was inaccurate. Unicolors,
     11   142 S.Ct. at 941 (2022). In the instant matter, it is irrefutable that Defendant had
     12   knowledge of the correct dates of creation and first publication at the time of filing
     13   its application for registration, given that the counterclaim was filed within days of
     14   the application for registration, yet these near-simultaneous documents contain
     15   disparate information.
     16         Further, the Court held that “Inaccurate information in a registration is
     17   therefore equally (or more) likely to arise from a mistake of law as a mistake of
     18   fact. That is especially true because applicants include novelists, poets, painters,
     19   designers, and others without legal training. Nothing in the statutory language
     20   suggests that Congress wanted to forgive those applicants’ factual but not their
     21   (often esoteric) legal mistakes.” Here, the applicant was not the uninformed artist
     22   without legal training but was the artist’s learned legal counsel who is also the
     23   Defendant’s counsel for this litigation. [See Dkt 32-2 wherein the organization
     24   applying is “RIMON, PC”].
     25         Borrowing from Justice Breyer’s analogy used in the Unicolors decision,
     26   Defendant saw a red bird in the tree, affirmatively knew that it was a scarlet tanager,
     27   but chose to call it a cardinal anyway. Id. at 946. Importantly, given that this
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      1   precedent is barely a month old and is a decision from the highest Court in the land,
      2   there can exist no overriding precedent that would substantiate Defendant’s
      3   erroneous proposition that its registration is valid.
      4             E. Plaintiff’s Photograph Would be Fair Use
      5         In the final prong of its opposition, Defendant appears to contend that
      6   Plaintiff is not entitled to judgment on the pleadings to the extent that it would rely
      7   on a fair use defense, insofar as Defendant appears to contend that the Court cannot
      8   rule on a fair use defense at the pleading stage. Defendant bases this argument on
      9   the contention that a fair use defense will often implicate questions of fact that are
     10   not ripe for determination at the pleading stage. While this may be a generically
     11   valid premise, it is not as absolute as Defendant suggests.
     12         To the contrary, courts have often considered fair use on a Rule 12(b)(6)
     13   motion to dismiss for failure to state a claim. Leadsinger, Inc. v. BMG Music Pub.,
     14   512 F.3d 522, 530 (9th Cir. 2008) (“the district court's resolution of the fair use
     15   issue at the motion to dismiss stage was proper”). Further, the Supreme Court
     16   affirmed that “the ultimate question whether [the]facts showed a ‘fair use’ is a legal
     17   question for judges to decide.” Google, LLC v.Oracle America, Inc., 141 S.Ct.
     18   1183, 1199 (2021). Where, as here, the Court must decide legal (as opposed to
     19   factual) issues, they must be decided by the Court.
     20         The Court further explained that a reviewing court should try to break fair
     21   use questions into their separate factual and legal parts; reviewing each according
     22   to the appropriate legal standard. But when a question can be reduced no further,
     23   the Court held that “the standard of review for a mixed question all depends—on
     24   whether answering it entails primarily legal or factual work.” Id. (quoting U.S.
     25   Bank v. Village at Lakeridge, 138 S.Ct. 960, 967 (2018)).
     26         Here, there are no disputed facts. More specifically, it is not disputed that
     27   Plaintiff authored the Photograph of Irina Shayk. It is not disputed that Plaintiff
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      1   registered the Photograph for copyright protection, and that such a registration was
      2   issued. It is not disputed that Ms. Shayk was wearing pants manufactured and/or
      3   sold by Defendant at the time Plaintiff photographed her. The “Pin Up Girl” image,
      4   in which Defendant claims to hold a copyright2 is present on a portion of one leg
      5   of the pants which Ms. Shayk is wearing in the Photograph. It cannot be disputed
      6   that the “Pin Up Girl” image, in which Defendant claims to hold a copyright
      7   comprises an insignificant portion of the overall Photograph. As a result, the only
      8   questions for the Court to decide are: (i) whether the Photograph is a “derivative
      9   work” (despite the fact that the “Pin Up Girl” image featured on Ms. Shayk’s pants
     10   does not match the image identified by Defendant in its counterclaim); and (ii), if
     11   so, is the Photograph protected by the fair use doctrine.
     12         In the instant matter, the Plaintiff did not take the photograph with the intent
     13   of incorporating Defendant’s alleged copyrighted work. The incorporation of the
     14   alleged copyrighted work is a function of random chance given that Plaintiff did
     15   not plan this shoot not and certainly had no input in the wardrobe selected by the
     16   model. 3
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             The Court should note that the Pin Up Girl image Defendant purports to be
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          registered contains green elements which appear to be outlines of bats and the Pin
     19   Up Girl image on the Shayk’s pants does not have the green elements.
     20   Accordingly, the registered image is not the same as the claimed infringement.

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           Plaintiff’s photo was taken with a 300mm lens at a shutter speed of 1/4,000 of
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          one second. This is in contrast to planned street photography which is typically
     27   done at 50mm and a shutter speed of 1/200. In layman’s terms, this means that
          Plaintiff was relatively far away from the subject and had no control over the
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      1          Defendant in opposing this point in Plaintiff’s brief spent the vast majority
      2   of its time analyzing whether or not the analysis should take place and therefore
      3   spent little to no time in their brief to the actual discussion of the four factors. To
      4   that end Plaintiff will endeavor to refute the minimal challenges put forth by the
      5   Defendant without repeating the arguments put forth in his original papers.
      6                     i. Purpose and character of use
      7          When discussing transformative usage of the Defendant’s alleged copyright,
      8   the crux of the discussion is whether something has been added to the original
      9   work. Campbell v. Acuff-Rose Music, Inc., 510 U.S. 579, 114 S.Ct. 1164, 127
     10   L.Ed.2d 500 (1994). In the instant matter this is not a difficult task given that the
     11   Plaintiff’s photograph also includes, from top to bottom, buildings, trees,
     12   lampposts, a taxi cab, a model, an entire outfit, and a crosswalk on a road. To
     13   suggest that this usage is not transformative would necessitate that the Court
     14   disregard centuries of precedent and label every individual who has ever taken a
     15   ‘selfie’ a direct infringer. Based on the discussions it is clear that this factor is in
     16   favor of the Plaintiff.
     17                    ii. The nature of the copyrighted work
     18          As discussed above and at length in Plaintiff’s earlier memorandum,
     19   Plaintiff’s work is creative given that Plaintiff made several decisions which were
     20   factored into the creation of his copyrighted work. Plaintiff chose his shutter speed,
     21   aperture, ISO, focal length, angle of shooting, timing of shooting, exposure,
     22   contrast, hue and saturation, clarity, and sharpness along with several other
     23   parameters that were in his control to create the art that he copyrighted. Based on
     24   the discussions it is clear that this factor is also in favor of the Plaintiff.
     25   //
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     27   subject necessitating a fast enough shutter speed to capture the exact moment
          without blurring the subject.
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      1                    iii. Amount and substantiality of the portion used
      2          Defendant contends that because they are able to see the entirety of the
      3   Defendant’s work in a small corner of the photograph that this necessitates that this
      4   factor leans in their favor. Such a conclusion would be incorrect. Defendant’s
      5   work is neither the focus of the photograph nor in-focus in the photograph. The
      6   fact that the Defendant’s work is in the photograph, and that they were able to use
      7   it for financial gain, was purely coincidental. Given that it is no more important to
      8   the work than the yellow cab in the background, this favor clearly leans in favor of
      9   the Plaintiff.
     10                    iv. Effect on the potential market for copyright holder’s work
     11          Defendant has acquiesced and stated that this factor is at best neutral.
     12   However, this admission is not entirely accurate given that not only did they
     13   attempt to profit off of the Plaintiff’s photo, they have never once attempted to enter
     14   into this market but rather use all of the photos to enhance their publicity. If
     15   Defendant Corporation was to actually to go after this market, they would file a
     16   case for every one of their customers that took and uploaded a photo of themselves
     17   onto social media. This sounds like a wild proposition; however, it is the exact
     18   claim that the Defendant is attempting to put forth. Given that there can be no
     19   negative effect on a market the Defendant has no intention of entering, this favor
     20   also leans in favor of the Plaintiff.
     21                                      CONCLUSION
     22          For all the reasons set forth above, the Court should find that there are no
     23   circumstances upon which Defendant could prevail on the Counterclaim. In light
     24   of the foregoing, cause exists to grant the instant motion in its entirety, together
     25   with any such other and further relief as this Court deems just, equitable, and
     26   proper.
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      1   DATED:      March 28, 2022
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